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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                               CHARLESTON DIVISION

TERRENCE JOSEPH MCGUIRK,

               Movant,
                                                  Case No. 2:23-cv-00816
v.                                                Case No. 2:18-cr-00225-05


UNITED STATES OF AMERICA,

               Respondent.


                      MEMORANDUM OPINION AND ORDER

         Pending before the court is the United States Motion for an Order Directing

Counsel to File Affidavit in Response to Movant’s Claim of Ineffective Assistance of

Counsel and Extend Response Deadline. (ECF No. 1120). The Court GRANTS the United

States’ motion as follows.

I.       OPINION

         On December 28, 2023, Movant filed a Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255, (ECF No. 1109). In the motion and accompanying

memorandum, Movant alleges that he received ineffective assistance of counsel from his

trial counsel, Mr. L. Thompson Price (“trial counsel”). In view of Movant’s allegations, the

United States filed the instant motion asking the Court to order trial counsel to provide

information responsive to the allegations of ineffective assistance of counsel.

         When considering the United States’ motion, the Court takes into account the

professional and ethical responsibilities of Movant’s trial counsel, as well as the obligation

of the Court to ensure a fair, orderly, and efficient judicial proceeding. Clearly, trial
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counsel has a basic duty under any jurisdiction’s standards of professional conduct to

protect Movant’s attorney-client privilege. Rule 83.7 of the Local Rules of this District

provides that:

       In all appearances, actions and proceedings within the jurisdiction of this
       court, attorneys shall conduct themselves in accordance with the Rules of
       Professional Conduct and the Standards of Professional Conduct
       promulgated and adopted by the Supreme Court of Appeals of West
       Virginia, and the Model Rules of Professional Conduct published by the
       American Bar Association.

Both the Rules of Professional Conduct promulgated by the Supreme Court of Appeals of

West Virginia and the American Bar Association’s (“ABA”) Model Rules of Professional

Conduct address the confidentiality of information shared between an attorney and his or

her client. See West Virginia Rules of Professional Conduct 1.6 and 1.9(c); Model Rules

1.6 and 1.9(c). These rules substantially limit the circumstances under which an attorney

may reveal privileged communications without an express and informed waiver of the

privilege by the client.

       Moreover, on July 14, 2010, the ABA’s Committee on Ethics and Professional

Responsibility issued Formal Opinion 10-456, entitled “Disclosure of Information to

Prosecutor When Lawyer’s Former Client Brings Ineffective Assistance of Counsel Claim.”

Although this opinion is not binding on the court, see, e.g., Jones v. United States, 2012

WL 484663 *2 (E.D. Mo. Feb. 14, 2012); Employer’s Reinsurance Corp. v. Clarendon

Nat. Ins. Co., 213 F.R.D. 422, 430 (D. Kan. 2003), it provides a reasoned discussion of

the competing interests that arise in the context of an ineffective assistance of counsel

claim and their impact on the continued confidentiality of attorney-client

communications. In summary, the ABA acknowledges in the opinion that “an ineffective

assistance of counsel claim ordinarily waives the attorney-client privilege with regard to
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some otherwise privileged information,” but cautions that this waiver does not operate to

fully release an attorney from his or her obligation to keep client information confidential

unless the client gives informed consent for disclosure or disclosure is sanctioned by an

exception contained in Model Rule 1.6. After examining the various exceptions contained

in Model Rule 1.6, the ABA concludes that disclosure may be justified in certain

circumstances; however, any such disclosure should be limited to that which the attorney

believes is reasonably necessary and should be confined to “court-supervised”

proceedings, rather than ex parte meetings with the non-client party. Simply put, the

filing of an ineffective assistance of counsel claim does not operate as an unfettered waiver

of all privileged communications.

       Upon examining the provisions of West Virginia’s Rule of Professional Conduct

1.6, the undersigned notes that Rule 1.6(b)(5) permits a lawyer to “reveal information

relating to the representation of a client to the extent the lawyer reasonably believes

necessary … to respond to allegations in any proceeding concerning the lawyer’s

representation of a client.” In the Comment that follows the Rule, the Supreme Court of

Appeals instructs the lawyer to make every effort practicable to avoid unnecessary

disclosure of information relating to a representation, to limit disclosure to those having

the need to know it, and to obtain protective orders or make other arrangements

minimizing the risk of disclosure. Similarly, Model Rule 1.6(b)(5) authorizes an attorney

to reveal information regarding the representation of a client to the extent the lawyer

reasonably believes necessary “to respond to allegations in any proceeding concerning the

lawyer’s representation of the client.” Furthermore, both West Virginia Rule 1.6(b)(6) and

Model Rule 1.6(b)(6) explicitly state that the lawyer may disclose such information “to

comply with other law or a court order.” Ultimately, a lawyer must comply with orders of
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a court of competent jurisdiction, which require the lawyer to disclose information about

the client. In view of these provisions, the Court finds that defense counsel in this case

may, without violating the applicable Rules of Professional Conduct, disclose information

in this proceeding regarding their communications with Movant to the extent reasonably

necessary to comply with an order of this Court, or to respond to the allegations of

ineffective representation.

        Having addressed the professional responsibilities of counsel, the Court turns to

its authority and obligations. As previously noted, federal courts have long held that when

a “habeas petitioner raises a claim of ineffective assistance of counsel, he waives the

attorney-client privilege as to all communications with his allegedly ineffective lawyer.”

Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003).1 Subsequent to the opinion in

Bittaker, Rule 502 of the Federal Rules of Evidence was enacted to explicitly deal with the

effect and extent of a waiver of the attorney-client privilege in a Federal proceeding. Rule

502(a)2 provides in relevant part:

        When the disclosure is made in a Federal proceeding or to a Federal office
        or agency and waives the attorney-client privilege or work-product
        protection, the waiver extends to an undisclosed communication or

1 See also United States v. Pinson, 584 F.3d 972, 977-78 (10th  Cir. 2009); In re Lott, 424 F.3d 446, 453-
54 (6th Cir. 2005); Johnson v. Alabama, 256 F.3d 1156, 1178-79 (11th Cir. 2001); Tasby v. United States,
504 F.2d 332 (8th Cir. 1974); Dunlap v. United States, No. 4:09-cr-00854-RBH-1, 2011 WL 2693915, at *2
(D.S.C. Jul. 12, 2011); Mitchell v. United States, No. CV10-01683-JLR-JPD, 2011 WL 338800, at *2 (W.D.
Wash Feb. 3, 2011).

2The Federal Rules of Evidence generally apply in a § 2255 proceeding, except to the extent that “[a] federal

statute or a rule prescribed by the Supreme Court may provide for admitting or excluding evidence
independently from” the Rules of Evidence. See FRE 1101(a), 1101(b), and 1101(e). The statutes and rules
governing § 2255 actions do not address the assertion or waiver of the attorney-client privilege. See also
Castro v. United States, 272 F. Supp. 3d 268, 275 (D. Mass. 2017) (holding that “[t]he rules of evidence
apply to proceedings under § 2255” and referring to the Advisory Committee note to FRE 1101(d)(3));
United States v. Scott, 576 Fed. Appx. 409, 415 (5th Cir. 2014) (concluding that FRE 606(b) foreclosed
movant's argument in § 2255 proceeding); United States v. McIntire, Case No. 3:09-cv-359, 2010 WL
374177 (S.D. Ohio Jan. 29, 2010); Bowe v. United States, Case no. CR404-308, 2009 WL 2899107 (S.D.
Ga. May 20, 2009); Rankins v. Page, Case No. 99-1515, 2000 WL 535960 (7th Cir. May 1, 2000); Ramirez
v. United States, Case No. 96 CIV 2090, 1997 WL 538817 (S.D.N.Y Aug. 29, 1997). Moreover, Fed. R. Evid.
1101(c) states that “[t]he rules on privilege apply to all stages of a case or proceeding.”
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       information in a Federal or State proceeding only if: (1) the waiver is
       intentional; (2) the disclosed and undisclosed communications or
       information concern the same subject matter; and (3) they ought in fairness
       to be considered together.

Here, Movant intentionally waived in the § 2255 motion the attorney-client privilege that

attached to some of his communications with trial counsel; for example, those

communications pertaining to his claims of ineffective assistance of counsel. Accordingly,

in regard to any such discussions, a subject matter waiver of the privilege attendant to

those particular communications should be permitted in fairness to the United States.

       Nonetheless, the Court retains authority to issue a protective order governing

production of the privileged information, including the method by which the currently

undisclosed communications will be disclosed. See Rule 12, Rules Governing § 2255

Proceedings; FRCP 26(c); and FRE 502; See also United States v. Nicholson, 611 F.3d 191,

217 (4th Cir. 2010). Rule 7 of the Rules Governing Section 2255 Proceedings expressly

authorizes the use of affidavits as part of the record. The undersigned finds that an

affidavit and any supporting documents submitted by trial counsel should supply the

basic information required by the United States to allow it to respond to Movant’s § 2255

motion and would be useful to the Court in resolving the § 2255 motion while

simultaneously ensuring a reasonable limitation on the breadth of the waiver of the

attorney-client privilege.

II.    ORDER

       Therefore, for the forgoing reasons, the Court GRANTS the Government’s motion

for information and ORDERS Movant’s prior counsel, Mr. L. Thompson Price, to file

within thirty (30) days from the date of this Order an affidavit responding to Movant’s

claim of ineffective assistance of counsel. The affidavit shall include all of the information
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that is necessary, in trial counsel’s view, to fully respond to the claims and shall include

as attachments copies of any documents from his file specifically addressing the matters

raised by Movant in his motion. To the extent that these documents address other aspects

of trial counsel’s representation of Movant, which are not pertinent to a resolution of the

§ 2255, the documents may be redacted. In preparing the affidavits and attachments, trial

counsel should disclose only that information reasonably necessary to ensure the fairness

of these proceedings.

       In addition, the undersigned finds that specific court-imposed limitations on the

use of the privileged information are necessary to protect Movant’s future interests. As

noted by the Fourth Circuit in Nicholson, 611 F.3d at 217, citing Bittaker, 331 F.3d at 722-

723 (9th Cir. 2003), a protective order prohibiting the subsequent and unfettered use of

privileged information disclosed in a § 2255 proceeding is entirely justified, because

otherwise Movant would be forced to make a difficult choice between “asserting his

ineffective assistance claim and risking a trial where the prosecution can use against him

every statement he made to his first lawyer” or “retaining the privilege but giving up his

ineffective assistance claim.” Accordingly, the Court further ORDERS that the attorney-

client privilege, which attaches to the communications between Movant and counsel, shall

not be deemed as automatically waived in any other Federal or State proceeding by virtue

of the above-ordered disclosure in this § 2255 proceeding. The affidavit and documents

supplied by trial counsel shall be limited to use in this proceeding, and Respondent is

prohibited from otherwise using the privileged information disclosed by trial counsel

without further order of a court of competent jurisdiction or a written waiver by Movant.

       The Court GRANTS the United States’ motion for an extension. Within forty-

five (45) days of receipt of the affidavit and supporting documentation, if any, the
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United States shall file a responsive brief. The United States shall include a paragraph

setting forth its view on whether an evidentiary hearing is required in this action. Movant

shall have sixty (60) days thereafter to reply.

       The Clerk is instructed to provide a copy of this Order to Movant, counsel of record,

and L. Thompson Price, Esq.

                                          ENTERED: January 22, 2024
